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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: Chapter 11

Quicksilver Resources Inc., et al.,' Case No. [5-10585 (LSS)

Debtors. Jointly Administered

Re: Docket Nos. 1407 & 1437

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ORDER FURTHER EXTENDING THE EXCLUSIVE
PERIODS DURING WHICH ONLY THE DEBTORS
MAY FILE A CHAPTER 11 PLAN AND SOLICIT ACCEPTANCES THEREOF

Upon the motion? of the above-captioned debtors and debtors in possession (collectively,
the “Debtors’’), for entry of this Order, pursuant to Bankruptcy Code section 1121(d), extending
(i) the Exclusive Filing Period through and including August 20, 2016, and (ii) the Exclusive
Solicitation Period through and including September 10, 2016, all as more fully described in the
motion; and the Court having jurisdiction to consider this motion and the relief requested therein
in accordance with 28 U.S.C. §§ 157 and 1334; and consideration of the motion and the relief
requested therein being a core proceeding in accordance with 28 U.S.C. § 157(b)(2); and venue
being proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice

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of the motion being adequate and appropriate under the particular circumstances; and-e-hearing

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hearing and all proceedings had-before the Court; and the Court having found and determined

that the relief sought in the motion is in the best interests of the Debtors’ estates, their creditors,

 

' The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Quicksilver Resources Inc. [6163]; Barnett Shale Operating LLC [0257]; Cowtown Drilling, Inc.
[8899]; Cowtown Gas Processing L.P. [1404]; Cowtown Pipeline Funding, Inc. [9774]; Cowtown Pipeline L.P.
[9769]; Cowtown Pipeline Management, Inc. [9771]; Makarios Resources International Holdings LLC [1765];
Makarios Resources International Inc. [7612]; QPP Holdings LLC [0057]; QPP Parent LLC [8748]; Quicksilver
Production Partners GP LLC [2701]; Quicksilver Production Partners LP [9129]; and Silver Stream Pipeline
Company LLC [9384]. The Debtors’ address is 801 Cherry Street, Suite 4000, Fort Worth, Texas 76102.

All capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the motion.
 

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and other parties in interest and that the legal and factual bases set forth in the motion establish
just cause for the relief granted herein; and-ary-objectroms-te-the requested relief haying been.
Withdrawn-oereverruled_onthe-merits; and after due deliberation and sufficient cause appearing
therefor, it is hereby ORDERED:

1. The motion is granted to the extent provided herein.

2. The Exclusive Filing Period is extended through and including August 20, 2016,
and the Exclusive Solicitation Period is extended through and including September 10, 2016.

3. This Order and the relief requested herein is without prejudice to the Debtors’
ability to seek further extensions of the Exclusive Periods pursuant to Bankruptcy Code section
1121(d).

4, The Debtors are authorized to take all actions necessary to effectuate the relief
granted pursuant to this Order in accordance with the motion.

5. The Court retains jurisdiction with respect to all matters arising from or related to

the interpretation or implementation of this Order.

Wilmington, Delaware a ee

Date: , 2016 THE HONORABLE LAURIE SELBER SILVERSTEIN
UNITED STATES BANKRUPTCY JUDGE
